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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
  v.                                             §    CASE NO. 1:17CR154-8
                                                 §
  JASON WRIGHT                                   §


           FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                BEFORE THE UNITED STATES MAGISTRATE JUDGE

         By order of the District Court, this matter was referred to the undersigned United States

  Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

  Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

  felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

  States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

  On August 14, 2018, this cause came before the undersigned United States Magistrate Judge for

  entry of a guilty plea by the defendant, Jason Wright, on Count One of the charging Third

  Superseding Indictment filed in this cause.

         Count One of the Third Superseding Indictment charges that from on or about December

  12, 2012, the exact date being unknown to the Grand Jury, and continuing thereafter until

  December 2017, the exact date being unknown to the Grand Jury, in the Eastern District of



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  Texas and elsewhere, Jason Wright, and co-defendants, aiding and abetting each other and others

  known and unknown, knowingly and intentionally conspired and agreed with each other, and

  with persons known and unknown to the Grand Jury, to distribute and to possess with the intent

  to distribute 280 grams or more of cocaine base, a/k/a “crack” cocaine, a Schedule II controlled

  substance, all in violation of 21 U.S. C. § 846 and 18 U.S.C. § 2.

         Defendant, Jason Wright, entered a plea of guilty to Count One of the Third Superseding

  Indictment into the record at the hearing.

         After conducting the proceeding in the form and manner prescribed by Federal Rule of

  Criminal Procedure 11 the Court finds:

         a. That Defendant, after consultation with counsel of record, has knowingly, freely and

  voluntarily consented to the administration of the guilty plea in this cause by a United States

  Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

  sentence by the District Court.

         b. That Defendant and the Government have entered into a plea agreement and a plea

  agreement addendum which were addressed in open court and entered into the record.

         c. That Defendant is fully competent and capable of entering an informed plea, that

  Defendant is aware of the nature of the charges and the consequences of the plea, and that the

  plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

  personally in open court, the Court determines that Defendant’s plea is voluntary and did not

  result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

         d.   That Defendant’s knowing, voluntary and freely made plea is supported by an



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  independent factual basis establishing each of the essential elements of the offense and

  Defendant realizes that his conduct falls within the definition of the crimes charged under 21

  U.S.C. § 846.

                                   STATEMENT OF REASONS

         As factual support for Defendant’s guilty plea, the Government presented a factual basis.

  See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

  this case were to proceed to trial the Government would prove beyond a reasonable doubt,

  through the sworn testimony of witnesses, including expert witnesses, as well as through

  admissible exhibits, each and every essential element of the crime charged in Count One of the

  Third Superseding Indictment. The Government would also prove that the defendant is one and

  the same person charged in the Third Superseding Indictment and that the events described in

  Third Superseding Indictment occurred in the Eastern District of Texas and elsewhere. The

  Court incorporates the proffer of evidence described in detail in the factual basis and stipulation

  in support of the guilty plea.

         Defendant, Jason Wright, agreed with and stipulated to the evidence presented in the

  factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

  and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

  presented by the Government and personally testified that he was entering his guilty plea

  knowingly, freely and voluntarily.




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                                RECOMMENDED DISPOSITION

         IT IS THEREFORE the recommendation of the undersigned United States Magistrate

  Judge that the District Court accept the guilty plea of Defendant which the undersigned

  determines to be supported by an independent factual basis establishing each of the essential

  elements of the offense charged in Count One of the charging Third Superseding Indictment

  on file in this criminal proceeding. The Court also recommends that the District Court accept the

  plea agreement and plea agreement addendum pursuant to the Local Rules for the United States

  District Court for the Eastern District of Texas and Federal Rule of Criminal Procedure 11(c).

  Accordingly, it is further recommended that, Defendant, Jason Wright, be finally adjudged as

  guilty of the charged offense under Title 21, United States Code, Section 846.

         Defendant is ordered to report to the United States Probation Department for the

  preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

  that the District Court may reject the plea and that the District Court can decline to sentence

  Defendant in accordance with the plea agreement and addendum, the federal sentencing

  guidelines and/or the presentence report because the sentencing guidelines are advisory in

  nature. The District Court may defer its decision to accept or reject the plea agreement and

  addendum until there has been an opportunity to consider the presentence report. See FED. R.

  CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in

  open court that it is not bound by the plea agreement and Defendant may have the opportunity to

  withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM. P.

  11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea, the



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      disposition of the case may be less favorable to Defendant than that contemplated by the plea

      agreement or addendum. Defendant has the right to allocute before the District Court before

      imposition of sentence.

                                               OBJECTIONS

             Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

      (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

      failure to object bars that party from: (1) entitlement to de novo review by a district judge of

      proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th

      Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual
.
      findings and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto.

      Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by

      Congress and the courts require that, when a party takes advantage of his right to object to a

      magistrate’s findings or recommendation, a district judge must exercise its nondelegable

      authority by considering the actual evidence and not merely by reviewing and blindly adopting

      the magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th

      Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                   SIGNED this the 10th day of September, 2018.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE


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